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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
                   v.                         )      Criminal No. 22-CR-10038-IT
                                              )
ARIEL LEGASSA,                                )
                        Defendant.            )

                               FINAL ORDER OF FORFEITURE
TALWANI, D.J.

       WHEREAS, on February 29, 2024, this Court issued a Preliminary Order of Forfeiture

against the following property, in connection with the charges against the defendant Ariel

Legassa (the “Defendant”), pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 28 U.S.C. §

2461(c), and Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure:

       a. $46,000 in funds held in or on behalf of American Broadcast Employees Federal Credit
          Union Prime share accounts ending in x4170, seized on March 29, 2022 (the “$46,000
          seized from the 4170 Account”);

       b. A 2020 Tesla Model 3, bearing vehicle identification number 5YJ3E1EB4LF639020,
          seized on April 11, 2022 (the “Tesla”); and

       c. A 1972 Piper Aircraft with model number PA-28R-200 bearing serial number 28-R-
          7335039, seized on April 11, 2022 (the Piper Aircraft”)

(collectively, the “Properties”);

       WHEREAS, notice of the Preliminary Order of Forfeiture was sent to all interested

parties and published on the government website www.forfeiture.gov for thirty (30) consecutive

calendar days, beginning on March 20, 2024 and ending on April 18, 2024;

       WHEREAS, no claims of interest in the Properties have been filed with the Court or

served on the United States Attorney’s Office, and the time within which to do so has expired;

       ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

       1.       The United States= Motion for a Final Order of Forfeiture is allowed.
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         2.       The United States of America is now entitled to the forfeiture of all rights, title or

interests in the Properties, which are hereby forfeited to the United States of America pursuant to

18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 28 U.S.C. § 2461(c), and Rule 32.2(c) of the Federal

Rules of Criminal Procedure.

         3.       All other parties having any rights, title or interests in the Properties are hereby

held in default.

         4.       The United States is hereby authorized to dispose of the Properties in accordance

with applicable law.

         5.       This Court shall retain jurisdiction in the case for the purpose of enforcing this

Order.




                                                         INDIRA TALWANI
                                                         United States District Judge


Dated:




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